Case 4:19-cv-07245-HSG Document 26-2 Filed 12/12/19 Page 1 of 4




  EXHIBIT A
         Case 4:19-cv-07245-HSG Document 26-2 Filed 12/12/19 Page 2 of 4




                              Government of Puerto Rico




                    CERTIFICATE OF ORGANIZATION

    I, LUIS G. RIVERA MARÍN, Secretary of State of the Government of Puerto Rico;


    CERTIFY: That TRANSPACIFIC IP GROUP LLC, register number 424234, is a
    Domestic Limited Liability Company For Profit organized under the laws of
    Puerto Rico on this 13th of March, 2019 at 10:01 AM.



                                IN WITNESS WHEREOF, the undersigned by virtue
                                of the authority vested by law, hereby issues this
                                certificate and affixes the Great Seal of the
                                Government of Puerto Rico, in the City of San Juan,
                                Puerto Rico, today, March 13, 2019.




                                LUIS G. RIVERA MARÍN
                                Secretary of State




1547603 - $250.00
          Case 4:19-cv-07245-HSG Document 26-2 Filed 12/12/19 Page 3 of 4

                                                                                      Government of Puerto Rico
                                                                                        Department of State

                                                                                    Transaction Date: 13-Mar-2019
                                                                                         Register No: 424234
                                                                                         Order No: 1547603




                                    Government of Puerto Rico
                Certificate of Formation of a Limited Liability Company
Article I - Limited Liability Company Name
The name of the Domestic Limited Liability Company is: TRANSPACIFIC IP GROUP LLC
Desired term for the entity name is: LLC
Article II - Principal Office and Resident Agent
Its principal office in the Government of Puerto Rico will be located at:
Street Address          5245 Ave Isla Verde, Unit 302, CAROLINA, PR, 00979
Mailing Address         5245 Ave Isla Verde, Unit 302, CAROLINA, PR, 00979
Phone                   (650) 469-3750

The name, street and mailing address of the Resident Agent in charge of said office is:
Name                    Pogodin, Pavel
Street Address          5245 Ave Isla Verde, Unit 302, CAROLINA, PR, 00979
Mailing Address         5245 Ave Isla Verde, Unit 302, CAROLINA, PR, 00979
Email                   pavel@transpacificlaw.com
Phone                   (650) 469-3750

Article III - Nature of Business
This is a For Profit entity whose nature of business or purpose is as follows:
Provision of export services in one or more of the following areas:
• Research and development;
• Advertising and public relations;
• Economic, scientific, environmental, technological, managerial, marketing, human resources,
engineering,
information systems, auditing and consulting services;
• Consulting services for any trade or business;
• Commercial art and graphic services;
• Production of engineering and architectural plans and designs, and related services;
• Professional services such as legal, tax and accounting services;
• Centralized managerial services, including, but not limited to, strategic direction, planning and
budgeting,
provided by regional headquarters or a headquarters company engaged in the business of
providing such services;
• Services performed by electronic data processing centers;
• Development of licensee computer software;
• Telecommunications voice and data between persons located outside of Puerto Rico;
• Call centers;
• Shared service centers;
• Medical, hospital and laboratories services;
• Investment banking and other financial services, including but not limited to asset
management, management of investment alternatives, management of activities related to
private capital investment, management of coverage funds or high risk funds, management of
pools     ofofcapital,
 Certificate  Formation oftrust   management
                           a Limited Liability Company that serves to convert different groups of assets into
                                                                                                           Page 1 of 2
securities, and escrow accounts management services; and
• Any other service designated by the Secretary of the Department of Economic Development
and Commerce of Puerto Rico.
• Development of licensee computer software;
• Telecommunications voice and data between persons located outside of Puerto Rico;
          Case 4:19-cv-07245-HSG Document 26-2 Filed 12/12/19 Page 4 of 4
• Call centers;
• Shared service centers;
• TRANSPACIFIC IP GROUP LLC
  Medical, hospital    and laboratories services;                            Domestic Limited Liability Company

• Investment banking and other financial services, including but not limited to asset
management, management of investment alternatives, management of activities related to
private capital investment, management of coverage funds or high risk funds, management of
pools of capital, trust management that serves to convert different groups of assets into
securities, and escrow accounts management services; and
• Any other service designated by the Secretary of the Department of Economic Development
and Commerce of Puerto Rico.




Article IV - Authorized Persons
The name, street and mailing address of each Authorized Person is as follows:
Name                           Pogodin, Pavel Igor
Street Address                 5245 Ave Isla Verde, Unit 302, CAROLINA, PR, 00979
Mailing Address                5245 Ave Isla Verde, Unit 302, CAROLINA, PR, 00979
Email                          pavel@transpacificlaw.com



Article V - Administrators
Faculties will not end by presenting this Certificate.




Article VI - Terms of Existence

The term of existence of this entity will be: Perpetual
The date from which the entity will be effective is: 13-Mar-2019

Supporting Documents
Document                                                             Date Issued


STATEMENT UNDER PENALTY OF PERJURY
IN WITNESS WHEREOF, I/We Pogodin, Pavel Igor, the undersigned, for the purpose of forming a
limited liability company pursuant to the laws of Puerto Rico, hereby swear that the facts herein stated
are true. This 13th day of March, 2019.




 Certificate of Formation of a Limited Liability Company                                         Page   2   of 2
